Case 6:20-cv-00546-IM                 Document 101-5     Filed 08/07/23        Page 1 of 14




                                                                Oregon Department of Corrections
                                                                             Cor1·ectional Services Division
                                                                                     2575 Center Street, NE
                                                                                    Salem, OR 97301-4667
               Kate Brown, Governor                                             Telephone: (503) 945-9055
                                                                                      Fax: (503 ) 373- 1173




September 16, 2019



Damien Douglas, #10131429
Oregon State Penitentiary
2605 State St.
Salem , OR 97310

Subject: Second Level Grievance Appeal - OSP-2019-06-037AA
         RE : Concern of Name not Included on Ramadan List

Dear Mr. Douglas:

This letter is in response to Grievance OSP-2019-06-037AA received by the
Correctional Services Division regarding your concern of your name not listed on May
5, 2019, Count Time Report (Exhib it 2) . I understand you dispute Mr. Holmes
response to your first-level appeal concerning the citing of your name not on the list of
Adults in Custody receiving Ramadan this year.

I have reviewed your grievance requests and the responses that were sent to you by
Religious Services . In Mr. Holmes' previous response he stated, "On the Institution
Program Assignments Listing (cited as Exhibit 1) your name was included for
Ramadan. This listing was done on 5/3/19, two days before Ramadan began. As
noted, this listing was completed by Religious Services and distributed to stakeholders
with in OSP two days before the Ramadan fast. .. " While you are correct in stating your
name was not placed on Exhib it 2, you are incorrect in asse rting that Mr. Holmes
stated it was on Exhibit 2.

After reviewing your appeal and the corresponding documents, I concur with the
response you received from Mr. Holmes. You have not provided any add itional
information in the second-level appeal that would warrant a response other than that
which you have already received.


                                                                         SENT
                                                                      SEP 20 2019
                                                                 OSP/MCCF GRIEVANCE OFFICE




  CS2019-084




                     Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                       DOUG-0141
                                                                        EXHIBIT 5, Page 1 of 14
Case 6:20-cv-00546-IM          Document 101-5        Filed 08/07/23       Page 2 of 14



CS2019-084
Damien Douglas., #10131429
2nd Level Grievance
September 12, 2019
Page 2




Thank you for using the appropriate administrative process to review you r concerns.
This concludes the grievance review process for this matter.




Cindy Booth
Interim Assistant Director

CB:dh:hr

xc: A. Kidwell, Grievance Coordinator, OSP
    D. Holmes, Administrator, Rel igious Services
    File




                                                                          SENT

                                                                       SEP 2 o2019
                                                                 OSP/MCCF GRIEVANCE OFFICE




                 Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                   DOUG-0142
                                                                   EXHIBIT 5, Page 2 of 14
          Case 6:20-cv-00546-IM                         Document 101-5              Filed 08/07/23                 Page 3 of 14



                                                       GRIEVANCE APPEAL FORM

TO BE FILLED OUT BY INMATE

TO:      Pr~ '11&!,Y-:
FROM: ~ ~ h                                             ~       1                                                  ' Cell/Block/Bunk #




I.    List in detail all the reasons you disagree with the original grievance or level # I appeal response. (For level # I appeal, attach
      original grievance fonn and staff response. For level #2 appeal, attach level #1 appeal form and staff response and, also, the
      original grievance form and staff response.)
         --rt




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       biSDA.M




2. Describe what action you want taken to resolve the grievance. (How can the problem be resolved?)

           Tn £                    ~ fi"k112 X ✓~ ;;b-/ ~d/4L




Date                                                                                           Inmate S ignature
                                                                                                                    RECEIVED
Di stributi on:
Orig ina l Gri evance Form (Green)
Fil e Copy - Send with Orig ina l to Sta ff (Yellow)
                                                                                                                     AUG 2 7 2019
Inmate Rece ipt (Blue)
Inmate Copy (Pink)                                                                                           OSPtMOOft ldFlli'::QJ9J.lcE OFFICE


                                       Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                                         DOUG-0143
                                                                                                         EXHIBIT 5, Page 3 of 14
        Case 6:20-cv-00546-IM                 Document 101-5           Filed 08/07/23          Page 4 of 14




                             regon                                        Oregon Department of Corrections
                                                                                       Dennis Holmes, Administrator,
                                                                                                  Religious Services
                                                                                                    OSCI Residence 3
                       Kate Brown, Governor                                                   3405 Deer Park Drive SE
                                                                                                    Salem, OR 973 I 0
                                                                                                 Voice: 503-378-2524
                                                                                                   Fax: 503-378-2648




        August 5, 2019


        Damien Douglas, SID #10131429
        Oregon State Penitentiary
        2605 State Street
        Salem, OR 97310



        Mr. Douglas,

        This letter is in response to your first-level Grievance Appeal, OSP_2019_06_037A, in which
        you stated that you were "not on the Ramadan list for the first day of Ramadan".

        I have reviewed your appeal, as well as all prior documentation relating to this grievance. On
        the Institution Program Assignments Listing (cited as exhibit 1) your name was included for
        Ramadan. This listing was done on 5/3/19, two days before Ramadan began. As noted, this                    ___.//
        listing was completed by Religious Services and distributed to stakeholders within OSP two days
        before the Ramadan fast began. If you did not receive a sack lunch on the first day, as you stated
        in your grievance, this would not have been due to a lack of having your name included in the
        Ramadan activity by Religious Services staff.

        However in response to the action you have requested regarding inclusion in future Ramadan
        fasts, if you meet the criteria for participation in this event you will be added each year to the
        Ramadan Program Assignment Listing.

        Thank you for addresing your concerns appropriately.




         SENT

     AUG 13 2019
OSP/MCCF GRIEVANCE OFFICE




                            Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                              DOUG-0144
                                                                                       EXHIBIT 5, Page 4 of 14
          Case 6:20-cv-00546-IM                            Document 101-5           Filed 08/07/23                Page 5 of 14



                                                                                    Grievance#            asp 2019- 00- 037f\
                                                                                                              Sta.ff Use Only

                                                   GRIEVANCE APPEAL FORM

Inmate:     ~J
           Last
                                      J:>141nll,llpt
                                         First
                                                               DInitial
                                                                          aj/#/J}/)lf)t
                                                                                     SID#                     Cell/Block/Bunk #

List in detail all the reasons you disagree with the original grievance response or first appeal response. Use multiple grievance appeal
forms if necessary. (For the first appeal, attach original grievance form and staff response. For the second appeal, attach first appeal
form and response as well as the original grievance and response.)
      -("t                        .      M,.n/VJ,rV\PIY7




Describe what action you want taken to r

       "\



                                                                                     Inmate Signature

                                                                                Receiving Facility              Received at Processing Facility
                                                                           (if not processing facility)


Distribution:
                                                                                                                   RECEIVED
Green (Original grievance appeal form)
Yellow (Grievance tile copy)                                                                                         JUL 2 6 2019
Blue (Inmate receipt after processed)
Pink (Inmate copy)
                                                                                                              OSP/MCCF GRIEVANCE OFFICE
                                                                                  Date Stamp                             Date Stamp

For g rievance appeal instructions see back page

                                                                                                                               CD 117c (11/14)


                                      Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                                        DOUG-0145
                                                                                                           EXHIBIT 5, Page 5 of 14
           Case 6:20-cv-00546-IM                          Document 101-5                Filed 08/07/23               Page 6 of 14




                                                 GRIEVANCE RESPONSE FORM


 TO BE FILLED OUT BY STAFF                                                                     Grievance#        OSP_2019 _06_037

 TO: Douglas Damien                                          ]013)429
         Inmate Name                                          SID#
 FROM:          Chaplain Kamna Thompson
                                           Staff Member




 1.      List, in detail, action(s) taken. (What action was taken? Was the action what the inmate requested? Ifnot, why? Who took the
         action? When was the action taken - date/time?)
         On May 3 rd when I was reviewing with our clerks the final list for Ramadan participants I discovered that the NOI group had
         not been added to the list. I added them all at that time. Ramadan did not start in the institution until Monday, May 6 th , 2019.
         As soon as the names were entered I notified food services so they would be prepared for the change in numbers and make
         enough meals for everyone at the start of Ramadan. To i;ny know\edge all NOI members were included in sack meals on the
         first day of Ramadan. Please see supporting e-mails that are attached.




                                                           Do Not Type Past This Line


 Date:


Sent from processing facility          Sent to inmate from current
                                        facility (if not processing
                                                  facility)
              SENT
          JUL 12 2019
o sPtMCCF GRIEVANC E OFFIC E
           Date Stamp                          Date Stamp




                                  Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                                    DOUG-0146
                                                                                                            EXHIBIT 5, Page 6 of 14
           Case 6:20-cv-00546-IM                                                        Document 101-5                                                     Filed 08/07/23                Page 7 of 14



7/1/2019                                                                                                        ramadan 2019- Google Search


                        ramadan 2019


                        0. All         Im News              (;;] Images            I!] Books            mVideo.,       l More                             Settings      Tools

                       About 258,000,000 results (0.41 seconds)


                       Ramadan 2019 in United States began in the evening of
                       Sunday, May 5
                       and ended In the evening of
                       Monday, June 3
                                                                                                                                                                     feedback


                        Ramadan 2019: What Is Ramadan? When Is It? How is It celebrated?
                       https://www.usatoday.com/story/news/natlon/2019/05/...ramadan-2019 .../1110697001/
                       May 5, 2019 - Ramadan, the most Important month of the year In th1.1 Muslim calender, begins Sunday,
                       May 5, and ands Tuesday, June 4.


                       When is Ramadan 2019? - Ramadan Timetable 2019 - Muslim Aid
                       https://www.musllmald.org/what-we-do/rellglous-dues/ramadan-2019/ "
                       The Blessed month of Ramadan Is upon us once again - a time for reflection, contemplation and
                       celebration. As the Islamic calendar Is based around the lunar ...


                        Ramadan 2019: How to Wish Someone a Happy Ramadan I Time
                       https://tlme.oom >Living , Holidays
                       May6,2019
                       You can exchange Ramadan greellngs by saying •Ramadan Kareem," which translates Into "Have a
                       generous ...



                  1 People also ask

                  r-····When did Ramadan start in 2019?
                  !r- --········~· -•-.--.. ···········... -.................. -·••. ··••v• ····- ·•··-··-··-                      . . . . . . . . . . ··---····          ~... .i
                  i How long does Ramadan last?
                  I
                  tHMMk> ••-·••-•M•---•-•-• •• ••--M-•M••--•·•· - _M,MOM ··-••-·• M--•••-··-•••-M • •· ·-• · - - •••······"· ··• •••· •·M -•
                                                                                                                                                                          V     i
                  [ What Is allowed and not allowed during Ramadan?                                                                                                       V
                  f--..· - - - - - - - - - - - - - - - - - - · - - - - - - - - - -
                  ' Why do Muslims fast?                                                                                                                                 V




                       Ramadan 2019: 9 questions about the Muslim holy month you were ...
                       https://www.vox.com/2017/5/•• ./what-ls-ramadan-2019-start-date-muslim-islam-about .,.
                       Apr 29, 2019 -When does Ramadan 2019 start? Whal Is Ramadan? How does fasting work? Your
                       questions. answered.


                       Ramadan 2019: Why is It so Important for Muslims? ] Islam I Al Jazeera
                       htlps://www.aljazeera.com/.../ramadan-2019-lmpcirtant-muslims-190505145156499 .h ... .,
                       May 5, 2019 - Ramadan Is the holiest month for Muslims. Every year, Muslims around the world fast
                       during daylight hours, but what Is it really about?


                       Ramadan - Wikipedia
                       https://en.wlklpedla.org/wlkl/Ramadan ..,
                       Ramadan (/,rmma'da:n/, also US: /,ro:m•, 'raemado:n, 'ra:m-/, UK: /'ra,medain/; ... 2019 date, 6 May-
                       3 June. 2020 date, evening of 23 April (22 April for Mall; 24 April for Australia, Bangladesh, Brunel
                       Darussalam, India, Iran, Morocco, Nepal, ...
                       2019 dale: aMay-3 June                                                          Obssrved by: Muslims
                       Celebrations: Community lftars and Community ...                                Begins: At the last night of the month of Sha'ban




https://www.google.com/search?q=ramadan+2019&rlz=1C1GCEB_enl.lS779US779&oq"ramadan+2019&aqs"chrome•. 69157.2296]0j1&sourceid=chro...                                                                    1/2




                                             Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                                               DOUG-0147
                                                                                                                                                                                    EXHIBIT 5, Page 7 of 14
        Case 6:20-cv-00546-IM               Document 101-5              Filed 08/07/23          Page 8 of 14




Thompson Karuna R

From:                            Thompson Karuna R
Sent:                            Friday, May 03, 2019 2:22 PM
To:                              Ridderbusch Rick E; Powers Aaron J
Cc:                              Stahlnecker Dennis U; Perlstein Avrohom Y
Subject:                         New Names for NOI on Ramadan


Hi Everyone,
                                                                                                                       ~


I discovered today that the NOi community had not had their names added to our Ramadan list. I am sorry for the jump
in numbers but thought better to add them then to have the complaints on the first nights when they were not on the
list. Thank you for your understanding and support.

Warmly,

Karuna Thompson, Chaplain

Oregon State Penitentiary
2605 State Street
Salem, OR 97301

Office: 503-373-1350 / Cell: 971-600-5907




                                                         1




                            Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                              DOUG-0148
                                                                                        EXHIBIT 5, Page 8 of 14
      Case 6:20-cv-00546-IM                  Document 101-5                Filed 08/07/23           Page 9 of 14




Thompson Karuna R

From:                             Young Stuart D
Sent:                             Sunday, May 05, 2019 7:44 PM
To:                               DL RS Chaplains
Subject:                          Ramadan


The moon was sighted so the first day is Monday. Food Services and institution staff have been notified to start meal
service Monday early morning.

Sent from my iPhone




                                                           1




                           Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                             DOUG-0149
                                                                                            EXHIBIT 5, Page 9 of 14
       Case 6:20-cv-00546-IM         Document 101-5       Filed 08/07/23      Page 10 of 14




                                         E-B
                                       Hair Cut l!~~
                   Date              7 I -Z& I ____b_
    * ONLY SIGN UP YOUR NAME.
    *Remain in your cell until called.
    *Do not request to use the barber tools.
    *No shaving in barber area.
    *Names outside the boxes will be removed.
    *If a box contains more than one name, both will be removed.
    *You may have a haircut once every 30 days.
    *Sign up on your tier's day only. NO EXCEPTIONS!
    *Not showing up for your haircut will suspend your haircut privileges for 30 days


     ********************Name***********************                 **********.Cell#*********

    ·C~l/1 \/22-, G  r
                                                                       I 17




.The following names will be called if time permits:
     *********************Name**********************                 **********Cell#*********


                                ..




i                        I       I         I          I          I          I          I
                     Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                       DOUG-0150
                                                                        EXHIBIT 5, Page 10 of 14
           Case 6:20-cv-00546-IM                      Document 101-5                      Filed 08/07/23                 Page 11 of 14


                                                                                        Grievance #              OSP~ z019         OG [}37
                                                                                                                     Staff Use Only
                                                       GRIEVANCE FORM
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                                                                                                                                                    f)
Inmate:
           Last                          First              ])Imtla
                                                                .. I                     SID#                       Cell/Block/Bunk #

Reason for grievance: (check all that apply)
    □   Misapplication of any administrative directive or operational procedure
    □   The lack of an administrative directive or operational procedure
    □   Any unprofessional behavior or action which may be directed toward an inmate by an employee, contractor, or volunteer of
        the Oregon Department of Corrections or the Oregon Corrections Enterprises
    □   Any oversight or error affecting an inmate
    □   A program failure as defined in the DOC rule on Performance Recognition and Award System (Inmate), OAR 291-077-0020,
        unless the program failure is a direct result of a misconduct report where the inmate was found in violation
    □   The loss or destruction of property as designated in the DOC rule on Personal Property (Inmate), OAR 291-117-0130(3)
    □   Sexual contact, solicitation or coercion between an employee, volunteer or contractor and an inmate

Please provide the date/time of incident giving rise to grievance:-----"S~ -'   vP~'~/L.-<1._______
List in detail all the reasons for your grievance. Use multiple grievance forms if necessary. (What is the problem? When did it happen
- date/time/place?) Attach copies of any documents or any material(s), which support your grievance, including the names of any
persons you think should be questioned.
 _,                      l          , Ju




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~:aiit11h51f:,::/};:rt:i:Jtlt1:;:;!~~z:;j
'1!:k:tif:t!/t;J:i!tz±ti;}/k~1:!:.t~=)
Describe what action you want taken to resolve the grievance. (How can the problem be solved?)




Date                                                                                      Inmate i/ignature
                                                                                       Receiving Facility              Received at Processing Facility
                                                                                  (if not processing facility)
Distribution:                                                                                                              RECEIVED
White (Original grievance form)
Yellow (Grievance file copy)
Pink (Inmate receipt after processed)                                                                                       JUN 03 2019
Goldenrod (Inmate copy)
                                                                                                                     OSP/MCCF GRI EVANC E OFFICE
For grievance information see back page
                                                                                         Date Stamp                             Date Stamp

                                                                                                                                          CD 117 (11/14)



                                        Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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                                                                                                                  EXHIBIT 5, Page 11 of 14
         Case 6:20-cv-00546-IM                       Document 101-5              Filed 08/07/23                  Page 12 of 14


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                                                                                                           Staff Use Only
                                                       GRIEVANCE FORM
                                                          .u Initial
                                                                        ruP"Jo/3/fdf
                                                                                   SID#                      Cell/Block/Bunk #
Reason for grievance: (check all that apply)
    □   Misapplication of any administrative directive or operational procedure
    □   The lack of an administrative directive or operational procedure
    □   Any unprofessional behavior or action which may be directed toward an inmate by an employee, contractor, or volunteer of
        the Oregon Department of Corrections or the Oregon Corrections Enterprises
    □   Any oversight or error affecting an inmate
    □   A program failure as defined in the DOC rule on Performance Recognition and Award System (Inmate), OAR 291-077-0020,
        unless the program failure is a direct result of a misconduct report where the inmate was found in violation
    □   The loss or destruction of property as designated in the DOC rule on Personal Property (Inmate), OAR 291-117-0130(3)
    □   Sexual contact, solicitation or coercion between an employee, volunteer or contractor and an inmate
Please provide the date/time of incident giving rise to grievance:_ _ _ _ _ _ _ _ _ _ __

List in detail all the reasons for your grievance. Use multiple grievance forms if necessary. (What is the problem? When did it happen
- date/time/place?) Attach copies of any documents or any material(s), which support your grievance, including the names of any
persons you think should be questioned.




Date                                                                               Inmate Signature
                                                                                Receiving Facility              Received at Processing Facility
                                                                           (if not processing facility)
Distribution :
White (Original grievance form)                                                                                      RECEIVED
Yellow (Grievance file copy)
Pink (Inmate receipt after processed)
Goldenrod (Inmate copy)
                                                                                                                      JUN O3 2019
For grievance information see back page                                                                       '"JSP/MCCF GRIEVANCE OFFICE
                                                                                  Date Stamp                            Date Stamp

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                                        Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
                                                                                                          DOUG-0152
                                                                                                          EXHIBIT 5, Page 12 of 14
     Case 6:20-cv-00546-IM     Document 101-5              Filed 08/07/23     Page 13 of 14

SCD108I                 Corrections Information Systems                                5/03/1::J
THOMPSKR '              Institution Program Assignments                               14:20:44
                                                                                      Page     1
Program: OSP RELISPEC Religious Special Activity                                Capacity:    60
s·ection ID: RELRAMADAN Ramadan 2019 f _/                                       Assigned:    44
                                           't/1,°JI/                            Waiting:

Offender Name        ID No.     · Referred /     Entered        NCI ACRS Cell#          Release
------------------------------------~~ ,- ~-----------------------------------
ALI, MEHAMED       21891340      4/02/2019 4/02/2019              2   .10    DRM263 8/27/2022
AL-WADUD, ABDUR RA 10534564      4/23/2019 4/23/2019              3   .01    E-536
AYDINER, DENIZ     15375190      5/03/2019 5/03/2019              3   .01    A313B
BEARD, CURTIS LEE   6349924      5/03/2019 5/03/2019              2   .02    E-560   1/11/2038
BOWIE, JAMES MICHA 17567358      5/03/2019 5/03/2019              1   .20    E-377B 12/22/2024
BOYD, JEREMY JW Jr 22489356      4/02/2019 4/02/2019              1   .07    E-337B 1/05/2033
BOYD, ROBERT DARNE 16362422      5/03/2019 5/03/2019              3   .04    A-259A
DOUGLAS, DAMIEN    10131429      5/03/2019 5/03/2019              3   .01    E-432
FUDGE, JAMES CHARL 7994245       4/02/2019 4/02/2019              2   . 01   D-306B
HABIBULLAH, MOHDSI 18667057      4/22/2019 4/22/2019              3   .01    E-418   6/11/2028
HAJI, HANAD A      19460781      5/03/2019 5/03/2019              1   .35    DS-328 11/10/2022
HARRIS, QUENTIN L 14 721651      5/03/2019 5/03/2019              3   .01    MHI43
HILL, BRIAN         6942 696     4/02 / 2019· 4/02/2019           3   .01    D-127
JACKSON, TECUMA N 10120829       5/03/2019 5/03/2019              3   .02    D-490 12/19/2033
JOHNSON, FREDERIC 15891465       4/18/2019 4/18/2019              1   .12    E-229B 7/19/2026
MARCUS, LITTLE JOH 18125717      4/04/2019 4/04/2019              3   .01    C-005A 10/30/2034
MCCOY, CARL JODECE 21891803      5/03/2019 5/03/2019              1   .22    E-316A 8/23/2020
MMARI, JOSHUA MARK 21153153      4/02/2019 4/02/2019              2   .20    C-406A 6/08/2019
MOHAMED, ABDALAH   16573290      5/03/2019 5/03/2019              1   .16    E-377A 12/03/2025
MOON, MEDERO       12614513      4/02/2019 4/02/2019              2   .01    D-570
MOUSTAFA, MAHMOUD 19977412       4/02/2019 4/02/2019              3   .05    D-435   3/10/2027
NASH, DEREK        17385824      4/02/2019 4/02/2019              1   .23    D-362B 9/12/2019
NELSON, CLEVELAND 14695811       5/03/2019 5/03/2019              2   . 09   C-201B 7 / 18/2030
ODOM, ALONZO DEWAY 18671280      4/02/2019 4/02/2019              3   .01    E-436 10/08/2030
PAYNE, ISAIAH K    19258937      5/03/2019 5/03/2019              1   .19    E-316B 10/21/2020
PERVISH, BENJAMIN   9124786      4/02/2019 4/02/2019              3   .03    D-437   1/09/2036
PETERSON, JEREMY I 12897088      5/03/2019 5/03/2019              1   .22    MHI38   7/03/2019
PRESLEY, ERIC Jr   13577324      5/03/2019 5/03/2019              2   .04    D-404   5/28/2019
RAMSEY, TROY LATRE 11609169      4/02/2019 4/02/2019              3   .01    A-121B
RAWLS, CATRELL TRA 13763481      4/02/2019 4/02/2019              3   .01    A-222A
SANDERS, GARY DELA 5332ll 7      4/02/2019 4/02/2019              3   .23    E-568   6/09/2020
SEAQUIST, JEREMY    8038195      4/19/2019 4/19/2019              3   .12    D-507   4/09/2029
SHABAZZ, MIKAL AKA 8528841       4/12/2019 . 4/12/2019            3   .02    A-212B 10/01/2035
SKLBA, JORDAN NATH 21020135      5/02/2019 5/02/2019              1   . 08   DS201A 12/03/2020
SMITH, RONNIE SCOT 8378953       5/03/2019 5/03/2019              3   .38    E-468 10/16/2023
STAFFORD, ADRIAN C 7577563       4/02/2019 4/02/2019              3   .03    C-lllA 4/15/2033
STEWARD, RESCHARD 10228211       5/03/2019 5/03/2019              3   .06    DS218B
TARDY, TERRENCE LY 13622495      4/02/2019 4/02/2019              3   .01    A-119A
THOMPSON, CHRISTOP 8093061       4/02/2019 4/02/2019              3   .02    A351B   5/10/2021
TILAHUN, SHUA      15493938      4/02/2019 4/02/2019              3   .02    D-563
VICTORIO, MICHAEL 21327635       4/19/2019 4/19/2019              1   .49    DS218A 12/30/2019
WALKER, DAVID MART 11082784      5/03/2019 5/03/2019              1   .51    DRM278 8/05/2019
WARD, MICUS D      20345287      4/02/2019 4/02/2019              1   .01    D-311A
YAFEU, TYEHIMBA     8261772      4/02/2019 4/02/2019              3   .01    C-111B


  44 Assignments listed

                                                       ,




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                                                                                    DOUG-0153
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SCi.i°S76BR                      Corrections Inf[,rmation Systems                             5/03/19
CURTISSS                              Count Time Report                                       8:36:56

Location OSP   5/05/2019 Time 20:15 Pgm ~l RELISPEC Idle *NG                               Page         7
Appointment location *ALL
                                            Exh?hr1~
        Cell     Name                          ~       Sid          Prag Id       Section Id


                                                '-
        E-229B   Johnson, Frederic Idris               15891465     RELISPEC      RELRAMADAN
        E-337B   Boyd, Jeremy Jw                       22489356     RELISPEC      RELRAMADAN
        E-418    Habibullah, Mohdsidek                 18667057     RELISPEC      RELRAMADAN
        E-436    Odom, Alonzo Dewayne                  18671280     RELISPEC      RELRAMADAN
        E-536    Al-Wadud, Abdur Rashid                10534564     RELISPEC      RELRAMADAN
       ,E-568    Sanders, Gary Delano                   5332117     RELISPEC      RELRAMADAN

RELISPEC Total      27




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Printed Name                                 Signatnre



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                                                                                          DOUG-0154
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